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 8                       United States District Court
 9                       Central District of California
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11   LISANA MEADE,                                Case No. 2:20-cv-08839-ODW (JEMx)
12                      Plaintiff,                FINAL JUDGMENT
13         v.
14   JULES HELM,
15                      Defendant.
16
17
18         Plaintiff Lisana Meade brought this action against Defendant Jules Helm,
19   seeking a partition and accounting of the real property located at 4139 Cahuenga
20   Boulevard, #107, Toluca Lake, California 91602 (the “Property”). On May 2, 2022,
21   the Court denied the parties cross motions for summary judgment, finding that
22   summary judgment was precluded by a genuine dispute of material fact as to whether
23   Plaintiff signed a quitclaim deed (the “Deed”), surrendering her interest in the
24   Property, or whether the signature on the Deed was a forgery and Plaintiff did in fact
25   maintain an interest in the Property. (See generally Order Den. Mots. Summ. J., ECF
26   No. 38.) On June 16, 2022, the Court issued an Order stating that this factual question
27   regarding the authenticity of the signature on the Deed, is the only remaining issue to
28   be tried. (Final Pretrial Conference Order 6, ECF No. 44.)
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 1         On June 24, 2022, the Court held an in-person, one-day bench trial. (See Bench
 2   Trial Mins., ECF No. 45.) Plaintiff appeared with her attorney, Scott A. Meehan and
 3   Defendant appeared with his attorneys, Paul S. Marks and Yuriko M. Shikai. After
 4   Plaintiff rested her case, Defendant made a motion for judgment on partial findings,
 5   pursuant to Federal Rule of Civil Procedure 52(c). The Court granted the motion,
 6   based on the Plaintiff’s testimony at trial and the credibility thereof, the exhibits
 7   admitted into evidence, and the Final Pretrial Conference Order, including the
 8   admitted facts and the legal authorities cited therein.
 9         The Court therefore ORDERS, ADJUDGES, and DECREES the following:
10             1. Plaintiff signed the Deed and quitclaimed her interest in the Property and
11                therefore, since then, has maintained no interest in the Property;
12             2. Plaintiff’s signature on the Deed is not a forgery;
13             3. Plaintiff is not entitled to an accounting or partition of the Property; and
14             4. Judgment is entered for Defendant.
15         The Court VACATES all dates and deadlines. The Clerk of the Court shall
16   close the case.
17         IT IS SO ORDERED.
18
19         July 8, 2022
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21                                 ____________________________________
22                                          OTIS D. WRIGHT, II
                                    UNITED STATES DISTRICT JUDGE
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